Case 18-11479-jkf          Doc 15     Filed 03/20/18 Entered 03/20/18 11:17:14                 Desc Main
                                      Document      Page 1 of 2


                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

               In Re: Brian P. Mallon, a/k/a          : Chapter 7
               Brian P. Mallon
                                                      : Bankruptcy No.18-11479-jkf
                   Debtor(s)                          :
                                                      : 11 U.S.C. § 362

 Carrington Mortgage Services, LLC
                                            Movant
                        vs.
 Brian P. Mallon, a/k/a Brian P. Mallon
                                          Debtor(s)
                          and
 Gary F. Seitz, Esquire
                                        Trustee
                                  RESPONDENTS

              MOVANT'S MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        Movant, by its undersigned Attorney, Sarah K. McCaffery, Esquire, hereby requests that the
automatic stay be vacated so that it may enforce its security interest against real property in the name of
Debtor(s).
1.      Movant is Carrington Mortgage Services, LLC, with an address at 1600 South Douglass Road,
Suite 200-A, Anaheim, CA 92806.
2.      Debtor(s) is the owner(s), mortgagor(s), and last grantee(s) of record to the real property situated
at 3544 Shelmire Street, Philadelphia, PA 19136 [hereinafter referred to as “mortgaged premises”].
3.      Movant is the owner and holder of a Mortgage, which Mortgage is presently a first priority lien
against the mortgaged premises. A true and correct copy of the recorded Mortgage is attached hereto as
Exhibit "A" and made a part hereof. A true and correct copy of the promissory Note, executed by
Debtor(s) contemporaneously with the Mortgage, is attached hereto as Exhibit "B" and made a part
hereof. A true and correct copy of recorded Assignment of Mortgage is attached hereto as Exhibit “C”
and made a part hereof.
4.      Carrington Mortgage Services, LLC services the loan on the Property referenced in this Motion.
In the event the automatic stay in this case is modified, this case dismisses, and/or the Debtor obtains a
discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure will be
conducted in the name of Movant. Movant, directly or through an agent, has possession of the promissory
note. Movant will enforce the promissory note as transferee in possession. Movant is the original
mortgagee or beneficiary or the assignee of the Mortgage.
Case 18-11479-jkf         Doc 15      Filed 03/20/18 Entered 03/20/18 11:17:14                 Desc Main
                                      Document      Page 2 of 2


5.      All communications sent by Secured Creditor in connection with proceeding against the property
including, but not limited to, notices required by state law and communications to offer and provide
information with regard to a potential Forbearance Agreement, Loan Modification, Refinance Agreement,
Loss Mitigation Agreement, or other Loan Workout, may be sent directly to Debtors.
6.      Debtor(s) is the Defendant(s) in a pending mortgage foreclosure proceeding venued in the
Philadelphia County Court of Common Pleas (Docket No. 1702002903) as a result of chronic failure
and/or refusal to make, tender, and/or deliver the monthly mortgage payments required pursuant to the
terms of the Note and Mortgage.
7.      The aforesaid mortgage foreclosure proceeding was stayed by the filing of this Chapter 7 case.
8.      Debtor’s(s’) mortgage loan secured by the aforesaid Mortgage is in default due to chronic non-
payment.
9.      Debtor(s) has/have not made, tendered, or delivered the following pre-petition monthly mortgage
payments March 6, 2016 through March 1, 2018.
10.     Movant is entitled to relief from the automatic stay as a result of the foregoing pre-petition
defaults and because a Chapter 7 bankruptcy case requires that the mortgage loan be current in order for
Debtor(s) to retain the mortgaged premises.
11.     Additionally, it appears that Debtor(s) is presently residing at a completely different address
based on information set forth on the Petition and Schedules.
12.     There is just cause for Movant to be granted relief from the automatic stay, so as to permit
Movant, its successors and/or assigns, to initiate or resume foreclosure on its Mortgage including, but not
limited to, the sale of the mortgaged premises at Sheriff's Sale.
        WHEREFORE, Movant respectfully requests that this Court enter an Order vacating the
automatic stay under 11 U.S.C. § 362(d) with respect to the mortgaged premises as to allow Movant, its
successors and/or assigns, to immediately initiate or resume foreclosure on its Mortgage and allow the
purchaser of the mortgaged premises at Sheriff’s Sale (or purchaser’s assignee) to take any/all legal or
consensual action for enforcement of its right to possession of, or title to, the mortgaged premises.

                                                           Respectfully submitted,
Dated: 03/20/2018                                           /s/ Sarah K. McCaffery
                                                           Sarah K. McCaffery, Esquire
                                                           Richard M. Squire & Associates, LLC
                                                           One Jenkintown Station
                                                           115 West Avenue, Suite 104
                                                           Jenkintown, PA 19046
                                                           (215) 886-8790
                                                           (215) 886-8791 (fax)
                                                           smccaffery@squirelaw.com (email)
                                                           Attorney for Movant
